214 F.3d 941 (7th Cir. 2000)
    Sokaogon Chippewa Community, Mole Lake Band  of Lake Superior Chippewa; Lac Courte Oreilles  Band of Lake Superior Chippewa Indians  of Wisconsin, et al.,    Plaintiffs-Appellees,v.Bruce E. Babbitt, Secretary, United States  Department of the Interior, Michael J. Anderson,  Deputy Assistant Secretary, United States  Department of the Interior, et al.,    Defendants-Appellees,Appeal of St. Croix Chippewa Indians of Wisconsin, Proposed Intervenor-Appellant.
    No. 00-1137
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued April 11, 2000
    Decided June 6, 2000
    
      Appeal from the United States District Court  for the Western District of Wisconsin.  No. 95-C-0659-C--Barbara B. Crabb, Judge. [Copyrighted Material Omitted]
      Before Manion, Diane P. Wood, and Evans, Circuit  Judges.
      Diane P. Wood, Circuit Judge.
    
    
      1
      The lucky winners  at blackjack, baccarat, twenty-one, and the slot  machines are not the only ones who see the  prospect of great wealth flowing from casinos.  Even more so (and even more reliably), wealth  comes to those who own and operate gambling  establishments. Casino gambling has become a  major enterprise for many Native American groups,  as Congress has paved the way for their entry  into that business. This case pits one group of  Indian tribes who hope to open a new gambling  facility against another tribe that currently  runs another gambling facility nearby. The narrow  question before us is whether the district court  erred when it refused to permit the St. Croix  Chippewa Indians of Wisconsin ("the St. Croix")  to intervene, either of right or by permission,  in litigation between the Sokaogon Chippewa  Community Mole Lake Band of Lake Superior  Chippewa ("the Sokaogon"), the Lac Courte  Oreilles Band of Lake Superior Chippewa Indians  ("the LCO"), and the Red Cliff Band of Lake  Superior Chippewa Indians ("the Red Cliff"), and  the U.S. Department of the Interior. We conclude  that it did not and we therefore affirm the  district court's decision.
    
    
      2
      * The story began with the 1994 decision of the  Sokaogon, the Red Cliff, and the LCO to form a  partnership under the name "Four Feathers," for  the purpose of acquiring a struggling greyhound  racing track outside of Hudson, Wisconsin, and  converting the track into a casino gaming  facility. (The fourth "feather" was Fred  Havenick, a private businessman with a financial  interest in the greyhound track.) Hoping to take  the property in trust, the Four Feathers  partnership submitted a joint application to the  Department of Interior under the Indian Gaming  Regulatory Act ("IGRA"), 25 U.S.C. sec.sec. 2701  et seq. The St. Croix, which has its reservation  in northwest Wisconsin, opposed and continues to  oppose the proposed casino gaming facility. It  predicts that the Four Feathers casino will have  a detrimental impact on the gaming revenues it  derives from the two casino gaming facilities it  currently operates (one in Turtle Lake and the  other in Danbury, Wisconsin), and that the loss  of revenue will in turn harm the quality of life  on its reservation.
    
    
      3
      Under Section 5 of the Indian Reorganization  Act of 1934, 25 U.S.C. sec. 465, the Secretary of  the Interior has broad authority to acquire  property in trust for Indian tribes.1 Using a  type of double-negative, IGRA restricts this  broad grant of authority by prohibiting the  acquisition of trust land for gaming purposes,  but then sec. 2719(b) (1)(A) of the Act  establishes an exception to the exception. In  order to be able to acquire land in trust for  gaming purposes, tribes must show that "[1] a  gaming establishment on newly acquired lands  would be in the best interest of the Indian tribe  and its members, and [2] [it] would not be  detrimental to the surrounding community." 25  U.S.C. sec. 2719(b)(1)(A). To determine whether  applicant tribes have satisfied this test, the  IGRA requires the Secretary to consult with "the  Indian tribe and appropriate State, and local  officials, including officials of other nearby  Indian tribes." Id. Even if the Secretary decides  to grant the application, there is still one more  step in the process. The Governor of the state in  which the proposed gaming activity will be  conducted must also concur in the Secretary's  determination, id., and only then can the  facility open.
    
    
      4
      On March 4, 1994, Four Feathers filed an  application with the Department of the Interior's  Minneapolis Area Office asking the Department to  take into trust the Hudson greyhound racing  track, so that Four Feathers could convert it  into a casino gaming facility. Under Department  of Interior internal procedures, the Department's  Area Office is responsible for making the initial  determination of whether an applicant tribe has  met the requirements of sec. 2719(b). See  Checklist for Acquisitions for Gaming Purposes.  The Minneapolis Area Office accordingly consulted  with municipalities, citizens, and others in the  communities surrounding the site of the proposed  casino gaming facility. The St. Croix urged the  Area Office to recommend denial of the  application because of the negative effect the  proposed casino would have on the revenues of the  St. Croix's existing casinos. In a report dated  November 14, 1994, the Minneapolis Office advised  the Bureau of Indian Affairs ("BIA") that in its  view the applicant tribes (that is, the Four  Feathers) had satisfied the requirements of IGRA  sec. 2719 and that their application should be  approved.
    
    
      5
      At that point, at least in hindsight, things  took a significant detour. Instead of ruling on  the basis of the record that had been compiled,  BIA officials agreed in early 1995 to meet with  federal elected officials from Minnesota and  officials from several Indian tribes, including  the St. Croix. These officials expressed their  concern about the impact of the proposed new  casino on revenues earned by existing Indian  casinos operating in the Hudson, Wisconsin area.  As a result of the meeting, BIA agreed to extend  the comment period for the Four Feathers  application until April 30, 1995. The St. Croix  and several others interested in the proposed  casino project submitted comments by the new  deadline.
    
    
      6
      On July 14, 1995, Interior denied the Four  Feathers application. The letter informing Four  Feathers of the decision indicated that it had  failed to demonstrate that the new casino would  not have a detrimental impact on the surrounding  community. Outraged by Interior's apparent  about-face in response to ex parte political  pressure, Four Feathers filed this suit under the  Administrative Procedure Act, 5 U.S.C. sec.sec.  701 et seq., on September 15, 1995. Four  Feathers's complaint alleged that Interior's  denial of its application was arbitrary and  capricious and violated applicable law,  regulations, and internal policies and  procedures, and it asked that the decision be  vacated and the application remanded to Interior  for reconsideration. In time, these allegations  of impropriety created a political firestorm that  included Congressional hearings and the  appointment of an Independent Counsel to  investigate alleged misdeeds of White House and  Department of the Interior officials. Once the  Independent Counsel was appointed, the district  court stayed the proceedings until the completion  of the investigation.
    
    
      7
      There matters stood in the litigation until  March 12, 1999, when the Department filed with  the court a letter it had received from the  Independent Counsel's Office stating that the  Office supported mediation or settlement talks to  resolve the civil suit. The parties took up the  suggestion, and in early 1999, they selected a  mediator. At that point, the existence of the  settlement discussions became a matter of record;  thereafter, newspaper articles about the progress  of the case appeared on occasion. Just before the  negotiations drew to a close, the St. Croix filed  on November 26, 1999, an emergency motion to  intervene in the action as a party defendant.  Five days later, with the motion still pending,  the parties filed with the district court an  executed settlement agreement with a stipulation  and proposed order of dismissal.
    
    
      8
      In the proposed Settlement Agreement, Interior  agrees to withdraw its July 14, 1995, decision  and to pick up where it had left off with its  administrative review of the application. The  Settlement Agreement sets out certain procedures  that are to be followed during the renewed  administrative review, including the following:
    
    
      9
      The determination on the issue of detriment to  the surrounding community under 25 U.S.C. sec.  2719(b) will be based upon facts set forth in the  administrative record as it existed on July 14,  1995, as supplemented only by: (1) any additional  information submitted as a part of consultations  between the plaintiff Tribes and Interior as  provided for herein; and (2) the supplemental  documentation submitted in accordance with the  provisions of paragraph 10 of this Settlement  Agreement.
    
    
      10
      * * *
    
    
      11
      The mere fact of competition by the proposed  casino with casinos of other Tribes shall not be  determinative in Interior's decision-making.
    
    
      12
      The district court denied the motion on  December 6, and, in the same order, terminated  the litigation by executing a Stipulation of  Dismissal. The court then denied St. Croix's  motion for reconsideration on January 3, 2000.
    
    II
    
      13
      Although in a broader sense this has the look  and feel of an interlocutory appeal, it is not  from the point of view of the putative  intervenor, the St. Croix. As to it, the district  court's ruling rejecting its effort to intervene  was a final judgment, and its appeal is properly  before us under 28 U.S.C. sec. 1291. See Nissei  Sangyo America, Ltd. v. United States, 31 F.3d  435, 438 (7th Cir. 1994). Because Interior is now  reconsidering the Four Feathers application, some  might wonder why the St. Croix suit is not moot.  The reason it is not, in our opinion, is because  Interior is reconsidering the application under  the procedures it agreed to follow in the  Settlement Agreement. It is precisely that  agreement and those procedures that are the  target of the St. Croix attack; had Interior  begun a fresh proceeding with respect to this  license, the St. Croix would have been satisfied  and the case would have ended. We must therefore  consider the merits of the two theories under  which the St. Croix sought to become part of the  Four Feathers litigation.
    
    A.  Intervention as of right
    
      14
      The St. Croix first claim that it was entitled  to intervene of right, under Fed. R. Civ. P.  24(a). Insofar as this assertion rests on the  nature of the interest the tribe asserts in the  litigation, our review is de novo. People Who  Care v. Rockford Bd. of Educ., 68 F.3d 172, 175  (7th Cir. 1995). Even applications under Rule  24(a) must, however, be timely, and we review a  district court's decision that a motion to  intervene was untimely only for abuse of  discretion. Id.
    
    
      15
      Apart from the timeliness requirement, to which  we turn later, Rule 24 establishes three  requirements for someone seeking to intervene of  right: (1) the applicant must claim an interest  relating to the property or transaction which is  the subject of the action, (2) the applicant must  be so situated that the disposition of the action  may as a practical matter impair or impede the  applicant's ability to protect that interest, and  (3) existing parties must not be adequate  representatives of the applicant's interest. See  Fed. R. Civ. P. 24(a); 7C Wright, Miller &amp; Kane,  sec. 1908 (2d ed. 1986). In addition, at some  fundamental level the proposed intervenor must  have a stake in the litigation. Some disagreement  remains among the circuits about how Article III  standing rules intersect with the requirements  for Rule 24 intervention. Compare, e.g., Ruiz v.  Estelle, 161 F.3d 814, 830 (5th Cir. 1998)  (holding Article III standing not required for  intervention), cert. denied 526 U.S. 1158 (1999),  with Mausolf v. Babbitt, 85 F.3d 1295, 1300 (8th  Cir. 1996) (holding Article III standing required  for intervention); see also Rio Grande Pipeline  Co. v. FERC, 178 F.3d 533, 538 (D.C. Cir. 1999)  (describing circuit split and citing cases). This  remains a question that the Supreme Court has not  resolved. See Diamond v. Charles, 476 U.S. 54,  68-69 (1986); see generally 7C Wright, Miller &amp;  Kane, sec. 1908 (1999 supp.). From a pragmatic  standpoint, this court has observed that "[a]ny  interest of such magnitude [as to support Rule  24(a) intervention of right] is sufficient to  satisfy the Article III standing requirement as  well." Transamerica Ins. Co. v. South, 125 F.3d  392, 396 n.4 (7th Cir. 1997). But see United  States v. 36.96 Acres of Land, 754 F.2d 855, 859  (7th Cir. 1985) (stating, before the Supreme  Court tightened up the requirements for Article  III standing in  Lujan v. Defenders of Wildlife,  504 U.S. 555 (1992), that intervention as of  right requires an interest greater than that  required for Article III standing). Because it is  enough here to decide whether the St. Croix has  satisfied the requirements of the rule, we do not  explore further what the outer boundaries of  standing to intervene might be.
    
    
      16
      Intervention of right will not be allowed  unless all requirements of the Rule are met. Wade  v. Goldschmidt, 673 F.2d 182, 185 n.4 (7th Cir.  1982). In the lay sense of the term there can be  little doubt that the St. Croix tribe is  "interested" in the outcome of the Department's  consideration of the Four Feathers application.  Approval of the application will introduce a  competitor in the greater Twin Cities casino  gambling market, potentially leading to a  decrease in the profits of the St. Croix's  casinos. Denial of the application will leave the  St. Croix's casinos free of competition (at least  until another competitor decides to enter the  market). But not all interests give rise to a  right to sue, and the question here is whether  the St. Croix has a legally protectible interest  in fending off this unwelcome competition. If it  does have such an interest, then for purposes of  the second criterion we can assume that its  interest will be impeded as a practical matter.  Furthermore, we can assume here that none of the  present parties to the litigation is an adequate  representative for the St. Croix's interest (even  though the government points out that in a  broader sense it represents the long-term  interests of all Native American groups). The  petition to intervene of right thus turns on the  first of these criteria: whether the St. Croix  has successfully alleged an interest in the  transaction that is the subject of the pending  lawsuit.
    
    
      17
      The "subject of the pending lawsuit," however,  is not the merit of the Four Feathers  application. From its inception, this lawsuit has  focused instead on the procedures the Department  used in making its 1995 determination. Like most  APA cases, it involves a claim that the  Department did not follow the prescribed  decision-making procedures in arriving at its  final decision. Indeed, in areas like this one,  where the agency is granted broad discretionary  authority, see 25 U.S.C. sec. 465 (authorizing  Secretary to acquire lands "in his discretion");  25 C.F.R. sec. 151.3(a) (providing Secretary  "may" acquire land), practically the only  cognizable complaint can be one directed to the  question whether the agency followed the  procedural constraints on the exercise of that  discretion, as prescribed by statute and regulation. However hard it may be for the St.  Croix to show that it has an interest in the  ultimate outcome of the application process, here  it faces the even tougher job of showing that it  has a right to complain about the procedures the  agency is using.
    
    
      18
      The Four Feathers complaint asked for two  alternative remedies: either the grant of its  application or the vacation of the 1995 denial  and remand to the Department for further  consideration. The district court correctly  recognized that it could not compel the Secretary  to grant or deny the application, given the  discretionary nature of the decision. The most  the court could do was (in keeping with Four  Feathers's second request for relief) to evaluate  the legality of the decision-making procedures  used and, if they deviated from those prescribed  by statute, declare the decision arbitrary and  capricious and send the issue back to the  Secretary for reconsideration under the  appropriate procedures.
    
    
      19
      The St. Croix is asserting only an indirect  interest in the outcome of this suit. If the  procedures Interior followed in 1995 were proper,  or if a different set of procedures had resulted  from the settlement, then perhaps it might be  able to defeat or to delay significantly the Four  Feathers casino. At the end of the day, however,  it recognizes that its interest in the new casino  lies behind all the procedural maneuvering. With  that in mind, it argues that three different  interests support its right to intervene.
    
    
      20
      First, the St. Croix contends that if the Four  Feathers application is granted, its own casino  operations will become less profitable. That  interest, however, does not resemble any that the  law normally protects. It is reminiscent instead  of the unsuccessful claim Pueblo Bowl-O-Mat made  in an antitrust challenge to Brunswick  Corporation's acquisition of a competing bowling  alley. See Brunswick Corp. v. Pueblo Bowl-O-Mat,  Inc., 429 U.S. 477 (1977). Pueblo reasoned that  it was injured because the existence of  competition would lead to lower prices. The Court  did not take issue with that basic economic  proposition, but it did dismiss Pueblo's claim on  the ground that it had failed to allege the kind  of injury for which the antitrust laws provide  redress. Id. at 487-89. Although the IGRA  requires the Secretary to consider the economic  impact of proposed gaming facilities on the  surrounding communities, it is hard to find  anything in that provision that suggests an  affirmative right for nearby tribes to be free  from economic competition.
    
    
      21
      We need not resolve the question whether this  interest is protectible, however, because there  is a deeper flaw with the St. Croix's argument.  As the Secretary points out in his brief, any  detrimental impact from the proposed Four  Feathers casino on the St. Croix reservation's  economy is pure speculation at this point. The  renewed administrative process required by the  Settlement Agreement has barely had time to  begin, and it is anyone's guess what the  Secretary's final decision will be. Moreover,  even if the Secretary approves the application,  the casino cannot be built until the Governor of  Wisconsin independently gives his approval. See  25 U.S.C. sec. 2719(b) (1)(A). Four Feathers must  then succeed in financing and building the casino  as well as gaining proper permits and licenses.  Finally, the Four Feathers casino must be  competitive. The St. Croix asks us to assume that  if and when the Four Feathers casino is built it  will necessarily destroy the St. Croix's gaming  business. But as all businesspeople are acutely  aware, in a competitive market, success is never  sure. Maybe the Four Feathers casino will  dominate, or maybe it will be a flop. Perhaps  people will like the geographical advantage of  the Four Feathers casino, which would be an easy  drive from the Twin Cities, but for some a more  bucolic getaway may be preferable. It is far too  early to tell. Even if the St. Croix had some  interest in the location of its competitors  (rather like the interests asserted in various  automobile dealer location statutes, see, e.g.,  Conn. Gen. Stat. sec. 42-133dd; 10 Me. Rev. Stat.  Ann. sec. 1174-A), any effect on that interest  from the Four Feathers project is too speculative  to support intervention in this suit.
    
    
      22
      Second, the St. Croix asserts a generalized  interest in the legality of the procedures used  by the Department to conduct its review. That is,  the St. Croix contends that the review procedures  laid out in the Settlement Agreement are  unlawful, because they do not require the  Department to perform the environmental  assessments required under the National  Environmental Policy Act ("NEPA"), 42 U.S.C. sec.  4321 et seq. In asserting this interest, the  tribe claims the common interest of all citizens  in ensuring that their government agencies follow  the law. As countless cases have held, however,  such a generalized interest is insufficient to  support standing, let alone intervention. If it  did, the federal courts would be required to  allow anyone with an interest--however broad or  universal--to intervene in any lawsuit in which  the government is a party. To claim such an  interest, the St. Croix must demonstrate (or at  least claim) that it specifically would be  adversely affected in some way, shape, or form,  by the Department's alleged failure to follow  applicable environmental statutes. This is not an  impossible task. For example, if the failure to  go through environmental procedures would have a  detrimental impact on the St. Croix's water  supply, the tribe would have a sufficiently  specific interest for it to be cognizable. See  Hill v. Boy, 144 F.3d 1446, 1449-50 (11th Cir.  1998); Dubois v. United States Department of  Agriculture, 102 F.3d 1273, 1282-83 (1st Cir.  1996). But the St. Croix has alleged no such  particularized interest. More importantly, the  St. Croix does not argue that the Department's  decision-making process in 1995 ignored  applicable environmental regulations or failed to  take the proposed casino's environmental impact  into account. Instead, the tribe challenges only  the legality of the procedures adopted by the  parties in the Settlement Agreement, ignoring the  fact that the Agreement specifically preserves  its right to participate in the new NEPA process,  at which point the tribe will be able to call to  the Department's attention any current  environmental issues or eventually to challenge  any failure to follow the statute.
    
    
      23
      Last, the St. Croix alleges that the Settlement  Agreement violates the consultation procedures  laid out in the IGRA. The St. Croix contends  that, by agreeing to turn the clock back to 1995  and base the decision to grant or deny the  application entirely on the record as it existed  at that time, the Settlement Agreement violates  the tribe's right to provide comments on the  casino project. The interest the St. Croix  asserts is not encompassed in this lawsuit,  however, because it does not contend that it was  unlawfully blocked from providing comments in  1995. Rather, its complaint is purely forward-  looking.     The St. Croix wants to intervene because it  does not like the Settlement Agreement. The tribe  believes that the terms of the Settlement  Agreement violate statutes and regulations and  unlawfully cut it out of the reconsideration of  the Four Feathers application. The St. Croix,  however, cannot use alleged legal problems with  the Settlement Agreement to bootstrap itself into  this litigation. That the St. Croix waited until  settlement was imminent strongly suggests that  the tribe was not interested in intervening in  the litigation but in blocking a settlement  between the parties--or, at a minimum, this  settlement. If the St. Croix wanted to  participate in the litigation, it should have  moved to intervene when the suit was filed, or  shortly thereafter. Likewise, if the St. Croix  was concerned about settlement negotiations not  taking its interests into account, it should have  moved to intervene at such a time when it would  have been able to participate in them. As it now  stands, intervention by the St. Croix serves no  conceivable purpose other than to block a  settlement agreement that it does not like.
    
    
      24
      The St. Croix's final argument is that if we do  not allow it to intervene in this litigation, it  will be forever barred from challenging the  Settlement Agreement. The St. Croix contends that  the district court's approval of the Settlement  Agreement is equivalent to a judicial  determination that the terms of the Settlement  Agreement are lawful-- that they comply with all  applicable statutes and regulations. The district  court's approval of the Settlement Agreement,  however, is only binding between the parties to  it. If either party does not live up to its end  of the bargain, the other can ask the court to  enforce the Agreement's terms. Others--like the  St. Croix--who are not parties to the Settlement  Agreement are not bound by its terms and are free  to challenge any administrative decisions that  emerge from the process. In essence, the St.  Croix believes that the Department and Four  Feathers have managed to resolve their dispute by  contracting around the rights and interests of  the St. Croix. This may or may not be true. If  the Settlement Agreement is unlawful, as the St.  Croix claims it is, it can bring a suit under the  APA challenging as arbitrary and capricious the  Secretary's ultimate decision (assuming, of  course, it is then able to demonstrate the  necessary adverse interest).
    
    B.  Permissive intervention
    
      25
      Permissive intervention is allowed under Rule  24(b), once again upon timely application, "when  an applicant's claim or defense and the main  action have a question of law or fact in common."  Permissive intervention under Rule 24(b) is  wholly discretionary and will be reversed only  for abuse of discretion. Keith v. Daley, 764 F.2d  1265, 1272 (7th Cir. 1985). The district court  denied St. Croix's motion to intervene under Rule  24(b) for a reason that applied with equal force  to the motion under Rule 24(a); in each instance,  the court found the motion untimely.
    
    
      26
      "The purpose of the [timeliness] requirement is  to prevent a tardy intervenor from derailing a  lawsuit within sight of the terminal. As soon as  a prospective intervenor knows or has reason to  know that his interests might be adversely  affected by the outcome of the litigation he must  move promptly to intervene." United States v.  South Bend Community Sch. Corp., 710 F.2d 394,  396 (7th Cir. 1983), quoted in United States v.  City of Chicago, 870 F.2d 1256, 1263 (7th Cir.  1989). We consider the following factors to  determine whether a motion is timely: (1) the  length of time the intervenor knew or should have  known of his interest in the case; (2) the  prejudice caused to the original parties by the  delay; (3) the prejudice to the intervenor if the  motion is denied; (4) any other unusual  circumstances. Ragsdale v. Turnock, 941 F.2d 501,  504 (7th Cir. 1991), citing South v. Rowe, 759  F.2d 610, 612 (7th Cir. 1985).    In the district court and here on appeal, the  St. Croix argues that its motion was timely--  despite being filed five years after the initial  complaint--because it could not have expected the  outcome of the Settlement Agreement: first, that  the denial of the application would be vacated,  and second, that any settlement agreement would  be unlawful. That is, the St. Croix asserts that  it did not know its interests could be impaired  by the litigation until after it received the  Settlement Agreement.
    
    
      27
      The district court was well within the bounds  of reason to find these arguments unpersuasive.  From the moment Four Feathers filed its initial  complaint, the St. Croix knew that there were  only two possible outcomes of the litigation (and  any settlement talks): either Four Feathers would  cease trying to convince Interior to reconsider  its decision or Interior would agree to  reconsider its decision. The district court did  no more than rely on the obvious when it found  that the St. Croix had ample notice (five years)  that settlement was possible and ample  opportunity to request permission to intervene  before a settlement was reached. The St. Croix's  case is therefore nothing like the one faced by  this court in City of Chicago, supra, where the  white female police officers who wanted to  intervene could not have anticipated that the new  procedures would discriminate against them. See  870 F.2d at 1263. The St. Croix has known all  along that its interests are directly pitted  against those of Four Feathers. If the St. Croix  wanted a voice in the litigation, it should have  asked the district court to allow it to intervene  much sooner. Had the St. Croix been a party all  along, of course, it would have had a seat at the  settlement table.
    
    
      28
      Relatedly, the district court found that  Interior and Four Feathers would be prejudiced by  St. Croix's late motion to intervene, because the  parties had spent substantial time (nearly six  months), effort, and money in settlement  negotiations. To allow a tardy intervenor to  block the settlement agreement after all that  effort would result in the parties' combined  efforts being wasted completely. The St. Croix  does not contest that the parties' interests  would not be prejudiced by intervention at this  late date. Instead, the St. Croix focuses  exclusively on how the denial of its motion to  intervene would prejudice its own interests. This  is not, however, a one-sided equation, and the  district court would have been wrong to treat it  as such. Instead, the court correctly weighed the  interests on both sides and reasonably concluded  that the equities favored the settling parties.  On this point as well, the fact that the St.  Croix will have an opportunity to challenge any  eventual decision after it is made also weighs  against a finding of prejudice.
    
    C.  Sanctions
    
      29
      Finally, Four Feathers has moved that sanctions  be imposed against the St. Croix for its costs  and attorneys fees incurred in conjunction with  responding to the St. Croix's motion for a stay  pending appeal. Although we have ruled against  the St. Croix in this opinion, this is not an  automatic warrant for sanctions. (It does mean,  however, that costs on appeal will be taxed  against the St. Croix. See Fed. R. App. P.  39(a)(2).) We decline to find that the appeal was  frivolous or in bad faith, see Jansen v. Aaron  Process Equip. Co., Inc., 207 F.3d 1001, 1005  (7th Cir. 2000); Perry v. Pogemiller, 16 F.3d  138, 139-40 (7th Cir. 1994), and we therefore  deny the motion for sanctions.
    
    
      30
      The judgment of the district court is AFFIRMED.
    
    
      
        Notes:
      
      
        1
         Section 465 provides:     The Secretary of the Interior is hereby  authorized, in his discretion, to acquire,  through purchase, relinquishment, gift, exchange,  or assignment, any interest in lands, water  rights, or surface rights to lands, within or  without existing reservations, including trust or  otherwise restricted allotments, whether the  allottee be living or deceased, for the purpose  of providing land for Indians.     25 U.S.C. sec. 465.
        The implementing regulations provide that the  Secretary may acquire land for a tribe in trust  status:    (1) when the property is located within the  exterior boundaries of the tribe's reservation or  adjacent thereto, or within a tribal  consolidation area; or, (2) when the tribe  already owns an interest in the land or, (3) when  the Secretary determines that the acquisition of  the land is necessary to facilitate tribal  self-determination, economic development, or  Indian housing.    25 C.F.R. sec. 151.3(a), authorized by 25 U.S.C.  sec. 465.
      
    
    